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 8

 9
                                 UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11

12
     BGC, INC.,                                Case No. 3:22-CV-04801-JSC
13        Plaintiff,
                                               DEFENDANT KIMBERLY BRYANT’S
14 v.                                          ANSWER
                                               AND COUNTER-CLAIMS/CROSS-
15                                             CLAIMS [Filed Concurrently Herewith]
     KIMBERLY BRYANT and DOE 1,
16
        Defendants.
17 ___________________________________
   KIMBERLY BRYANT, an individual,
18
         Cross-Complainant
19

20          vs.

21 BLACK GIRLS CODE, a California Non-
   Profit Public Benefit Corporation;
22 HEATHER HILES, an individual; STACY

23 BROWN-PHILPOT, an individual,
   SHERMAN WHITES, an individual; SOFIA
24 MOHAMMED; WELLS FARGO &
   COMPANY, CHARLES W. SCHARF,
25 MICHAEL P. SANTOMASSIMO, and
   DOES 1-50, Inclusive.
26

27          Cross-Defendants.

28

                                                1

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 1                                           INTRODUCTION
 2          1.     Defendant/Cross-Complainant KIMBERLY BRYANT, files this original answer to

 3 plaintiff BGC, INC’s original complaint. Cross-Defendants, and each of them, conspired to take

 4 over Defendant/Cross-Complainant Kimberly Bryant’s non-profit corporation, Black Girls Code,

 5 that she founded in 2011. Plaintiff/Cross-Defendants have wrongfully removed and excluded Ms.
   Bryant from Black Girls Code, and wrongfully transferred to themselves her sole proprietor Wells
 6
   Fargo bank accounts without her consent, knowledge and over her objection. Plaintiff/Cross-
 7
   Defendants’ fraudulent and illegal acts and conduct has caused, and continue to cause Ms. Bryant
 8
   irreparable injury, damage, and harm where money damages are an inadequate remedy.
 9
                                       STATEMENT OF FACTS
10
   BGC Thrives on Substantial Donations
11
           Since approximately 2011, BRYANT has spearheaded efforts to provide access to
12
   technology and technological training to underprivileged girls of color through BGC. BRYANT,
13
   who initially funded BGC from her own 401K account, is an electrical engineer who has led and
14
   served as BGC’s CEO since its formation. Under BRYANT’s leadership, BGC has provided over
15 30,000 young women with access to skills in computer programming and technology through BGC

16 classes taught by over 4,000 volunteers. BRYANT has been at the forefront of the movement to

17 open the ‘tech world’ doors to Black girls who have long been left out of that industry. BRYANT is

18 a respected thought leader and one of the less than 1% women of color who led nonprofit

19 organizations in the area of tech education and/or other peripherally related ecosystems. She is a

20 well acknowledged and respected global and Silicon Valley leader, who has dedicated herself to the

21 founding, growth, and expansion of BGC from a single chapter in the Bay Area to 15 chapters in

22 major cities across the US and South Africa, including a second headquarters in New York City

23 sponsored by Google.

24          As an organization, BGC has grown from a grass-roots level non-profit organization that has
     received approximately $6,500,000 in donations through 2019 to an exponentially expanding
25
     organization that had received more than $30,000,000 in funding by the close of 2020. During the
26
     pandemic, BRYANT led BGC through an unprecedented shift to virtual programming that allowed
27
     the organization’s student reach to expand exponentially. This resulted in BGC reaching over
28
     10,000 students in 2020 alone, while doubling its staff and experiencing a 1,000 percent increase in
                                                      2

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 1 revenue. BGC is now an internationally recognized non-profit due to generous public gifts and on

 2 account of strategic corporate partnerships which have positioned BGC to continue to grow well

 3 into the future.

 4 HILES Takes an Interest in BGC for her Personal Benefit

 5           Concurrent with the success and notoriety that BGC obtained on account of the influx of
     generous funding and donations through 2021, HILES took a keener interest and a more active role
 6
     on BGC’s Board. Unbeknownst to BGC and BRYANT, HILES was eager to salvage her
 7
     professional reputation. HILES, the first President of Calbright College, was forced to resign in
 8
     2020 following the failure of Calbright’s first state audit amidst findings of mismanagement,
 9
     cronyism, and potential fraudulent use of state funds. Following her resignation, HILES sought to
10
     defend her reputation by candidly admitting that “[i]t is easy to blame the founding CEO for
11
     everything...”
12
             Following BGC’s exponential increase in charitable donations during and following the
13
     pandemic, HILES became more active in their role as a director. Upon information and belief,
14
     BRYANT alleges that HILES sought to capitalize on BGC’s growth and increased funding for her
15 own personal gain. BRYANT is informed and believes that since approximately September of 2020,

16 HILES has been a director at Udemy, a global marketplace for learning and online education.

17           In or about August 27,2020, HIILES sent a text message to BRYANT, stating that she had
18 joined the Board of Udemy, and that Udemy was pre-Initial Public Offering (“IPO”). At some point

19 following HILES’ text message, BRYANT looked at the regulatory filings for Udemy and

20 confirmed that HILES was a paid Board member and that Udemy was poised to move for IPO

21 status.

22           In or about February 16, 2021, in connection with preparing for Udemy’s IPO, HILES

23 attempted to arrange a partnership between BGC and Udemy. In response and on that same date,

24 BRYANT, in the presence of Defendant BROWN-PHILPOT, repeatedly warned and emphasized to
   HILES of the impropriety of HILES’ attempt to arrange a partnership between BGC and Udemy.
25
   BRYANT reminded HILES that BGC was already pursuing and engaged in a partnership with
26
   Udemy’s closest competitor, Coursera. HILES was relentless in her insistence that BGC engage in
27
   partnership with Udemy since the company sought to go public in the forthcoming year stating,
28
   “this would be good for Udemy”. BRYANT repeated her objection to HILES’ attempt to engaged
                                                    3

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 1 BGC in a partnership with Udemy, expressly asserting that such a partnership would be an illegal

 2 conflict of interest because HILES was a paid Board member of Udemy. As a result of HILES’

 3 unrelenting inducement directed at BRYANT and other BGC staff regarding the ‘necessity’ of BGC

 4 partnering with Udemy, BRYANT objected to HILES’ nomination as BGC’s interim chair based

 5 upon concerns with HILES’ lack of ethical standard concerning her inability to refrain from
   engaging in self-dealing and in her disregard of a glaringly apparent conflict of interest.
 6
          BRYANT further alleges on information and belief that HILES intentionally impeded
 7
   BGC’s establishment of a $20,000,000 endowment which was fully approved by the Board in June
 8
   2021. Although the endowment could have been implemented by the late spring or early summer of
 9
   2021, HILES unilaterally impeded the establishment of the endowment. As acting Treasurer and
10
   interim Chair of the Board, HILES refused to follow through with the Board’s June 2021
11
   Resolution to fund the endowment. BRYANT alleges on information and belief that the purpose of
12
   the delay was on account of HILES intention to divert the endowment funds to a venture capital
13
   firm which again, HILES had a personal financial interest in as then acting managing partner.
14
   During the course of several meetings with principals of WestFuller, HILES made a “soft pitch” to
15 the partners at WestFuller. Nevertheless, BRYANT again objected to HILES blatant conflict of

16 interest and self-dealing. Following the meeting with the principals of WestFuller, Lola West and

17 Ian Fuller, HILES still refused to complete the final signatures necessary for moving the investment

18 forward for the endowment by referring to the necessity of an additional vote by the BGC board

19 although this particular measure had already been approved by the BGC Board in June. When

20 BRYANT pointed out that the full Board had unanimously approved the establishment of the

21 endowment in June which was affirmatively reflected in the Board’s minutes from the June

22 meeting, HILES finally relented and gave her “approval” to move forward on November 12, 2021.

23          However, on account of BRYANT’s subsequent suspension initiated and instigated by

24 HILES and members of a self-appointed special committee just a few weeks following this
   interaction, the transfer of funds to the endowment account was obstructed and did not occur.
25
   HILES achieved her intended result.
26
           On October 5, 2021, BRYANT further objected to HILES simultaneously acting as
27
   Treasurer and serving as interim Chair of the Board. BRYANT asserted HILES’ conduct was in
28
   violation of Corporation Code Section 5213 which provided that “Any number of offices may be
                                                     4

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 1 held by the same person unless the articles or bylaws provide otherwise, except that no person

 2 serving as the secretary, the treasurer, or the chief financial officer may serve concurrently as the

 3 president or chair of the board.” In direct response to this and other additional objections by

 4 interjected by BRYANT, HILES embarked on an unrelenting campaign of retaliation and

 5 harassment against BRYANT, including the engineering and implementation of BRYANT’s
   suspension and termination from the Board and both her removal as CEO and termination of her
 6
   employment.
 7
          In perpetuating her campaign of retaliation against BRYANT, HILES manipulated the
 8
   resignation letters of two employees who were steered in the direction of blaming BRYANT as its
 9
   cause.
10
          Over the summer months of 2021, two employees—Isis Miller and Anesha Grant-- of BGC
11
   resigned and expressed concerns over BGC’s workplace culture. There specific allegations were
12
   that BGC’s workplace culture was “toxic”. In response to the resignations, BRYANT, in July of
13
   2021, immediately convened a Board meeting to discuss the specific concerns raised by the two
14
   employees. On July 1, 2021, at 1:13 pm Isis Miller (“Miller”) sent a resignation letter directly to the
15 Board. On the same day, July 1, 2021, at 2:00 pm, Anesha Grant (“Grant”), Isis Miller’s supervisor,

16 sent a resignation letter to BRYANT but then, after an unauthorized private meeting between

17 HILES, Grant and Miller, Grant sent a revised and much longer resignation letter to the Board that

18 now included many of the complaints raised by Miller’s letter that had been absent from the first

19 letter sent to BRYANT. Upon information and belief, HILES was integral in assisting Anesha Grant

20 in drafting her amended letter of resignation to the Board.

21          On July 2, 2021, at an emergency BGC Board meeting, HILES admitted that she had

22 reached out and met with Miller and Grant without Board approval. HILES, who as a Board

23 member required to adhere to BGC’s internal policies, was neither tasked nor permitted to speak

24 with resigned personnel and was reprimanded for her actions by then Board chair, Dr. Stephanie
   Adams. Despite expressly violating BGC internal policies, HILES refused to divulge to the Board
25
   the specifics of her conversations with Miller and Grant, but instead, deflected attention away from
26
   herself and before the entire Board, disparaged BRYANT’s character and her ability to sufficiently
27
   lead BGC in the future. Since Miller had made allegations in her resignation letters that BRYANT
28
   had “mis-gendered” her by referring to her as “she” instead of “they,” a reasonable inference
                                                       5

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 1 existed that HILES’ blatant hostility against BRYANT suggested that HILES’ wholly supported

 2 and affirmed Miller’s allegation of mis-gendering on account that such allegation was lacking any

 3 additional evidence other than Miller’s testimony to support such a claim.

 4         During the meeting HILES was admonished for her conduct by Board chair, Dr Stephanie

 5 Adams and on account of HILES display of partiality, the Board agreed that it would explore the
   potential of hiring an independent investigator to conduct an employee survey to determine the
 6
   veracity and extent of Miller and Grant’s allegations. Thereafter BRYANT met with Board
 7
   members, including former Board Chair Dr. Stephanie Adams, to discuss the personnel issues
 8
   raised by the July 2021 resignations. At that time, BRYANT and Dr. Adams agreed that the issues
 9
   presented by the resignations did not warrant involvement of legal counsel, but that BGC should
10
   still conduct the staff survey as previously discussed. HILES and BROWN-PHILPOT, however,
11
   raised strong opposition to the decision made by Dr. Adams and requested that the Board meet
12
   anew to discuss the issues.
13
   HILES Uses Employee Resignations to Oust BRYANT
14
           Over the summer months of 2021, three employees of BGC resigned over expressed
15 concerns with BGC’s workplace culture. In response to the resignations, BRYANT, in July of 2021,

16 convened an emergency meeting of the Board to discuss the concerns raised by the resigning

17 employees.

18         At this meeting BRYANT proposed that BGC take immediate action to improve BGC’s
19 workplace culture, including the hiring of a cultural consultant and a Chief Strategy Officer to

20 improve BGC’s efforts of remediating BGC’s workplace environment. On or about October of

21 2021, BGC did in-fact hire Karla Monterroso, the former CEO of the racial equity non-profit

22 Code2040 as a special consultant to evaluate the inner workings of BGC. BRYANT also met with

23 Edgility Consulting to launch an initiative to improve staff compensation and to provide coaching

24 and mentorship to the senior leadership.
          On or about September 22, 2021, Dr. Adams resigned from her role as BGC Board Chair
25
   which subsequently left a vacancy seat on the Board. HILES immediately and aggressively began
26
   campaigning to succeed Dr. Adams as Board Chair, despite holding the position as acting Treasurer
27
   which according to BGC bylaws precluded her from holding both positions simultaneously.
28
          On or about September 28, 2021, BRYANT received a memorandum purportedly from the
                                                     6

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 1 BGC Board sent from Board member Sherman Whites requesting immediate information from

 2 BGC’s legal counsel as to the insurance policies provided for BGC’s Directors and Officers, as well

 3 as clarification of the official communications between BGC and the employees who resigned in

 4 July, 2021. This communication precipitated a slurry of email communications between BRYANT

 5 and other members of the Board including SHERMAN WHITES, HEATHER HILES, and STACY
   BROWN-PHILPOT, who endeavored to install HILES (although she was currently serving as BGC
 6
   Board treasurer), as the interim Board chair by vote over email. BRYANT responded that pursuant
 7
   to the bylaws, a formal meeting was required on the issues raised and in answer to the Board’s
 8
   queries responded that (1) Loeb & Loeb, LLP was BGC’s legal counsel, (2) BRYANT would
 9
   provide the insurance policy requested, and (3) it had already been determined that the employee
10
   resignations did not warrant the involvement of legal counsel. BRYANT further requested a formal
11
   meeting of the Board to elect a new Board Chair, which was vacant due to the resignation of Dr.
12
   Adams.
13
          On or about October 5, 2021, a special Board meeting was convened by Board member
14
   SHERMAN WHITES. Prior to this meeting BRYANT sent a memorandum to her fellow Board
15 members outlining her concerns regarding HILES conduct and demeanor including intentionally

16 violating Board bylaws and protocols, workplace bullying, self-dealing, conflict of interest, and

17 other workplace misconduct. BRYANT requested to read allowed the contents of the memorandum

18 at the start of the Board meeting which did in fact occur over HILES’ objection. The memorandum

19 set out additional details of HILES misconduct and self-dealing. Nevertheless, despite BRYANT’s

20 strenuous objections, HILES was nominated for the interim Board Chair by SHERMAN WHITES

21 and seconded by STACY BROWN-PHILPOT. Now serving unlawfully as both BGC’s Treasurer

22 and Chair of the Board, HILES indicated that she was going to create a “Special Committee”

23 comprised of HILES, BROWN-PHILPOT, and WHITES to investigate “employee workplace

24 concerns.” No vote was taken with respect to the creation of a “Special Committee” despite such
   was required prior to its commencement.
25
           BRYANT alleges upon information and belief that at some point on or about October of
26
   2021, the Board held a meeting without proper notice and in violation of the BGC bylaws that
27
   specifically excluded BRYANT, who as CEO, had been serving as the Board’s President. At that
28
   unauthorized October 2021 meeting, a “Special Committee” was formed consisting of Defendants,
                                                    7

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 1 HILES, BROWN-PHILPOT, and WHITES, with the express purpose of inquiring into employment

 2 and human resources matters. It was understood that the Special Committee would report back to

 3 the full Board with its findings and recommendations. BRYANT further alleges that, prior to the

 4 unauthorized meeting promulgating the creation of a Special Committee, HILES had independently

 5 consulted with Holly Lake, an attorney associated with the law firm DLA Piper who was in
   attendance at the unauthorized meeting despite the fact that the firm had not yet been contractually
 6
   engaged by BGC which was a requirement prior to consultation. Thereafter, Board member STACY
 7
   BROWN-PHILPOT, in acting on behalf of the Special Committee, strong armed BRYANT into
 8
   agreeing to retain DLA Piper as legal counsel on “employment related issues.” BRYANT however
 9
   was unaware nor was she notified that DLA Piper was tasked with conducting an investigation into
10
   allegations of BRYANT’s own workplace misconduct.
11
           Around the time of the formation of the Special Committee in October of 2021, BRYANT
12
   had formally requested that HILES be investigated for workplace misconduct in connection with a
13
   meeting of the Board of Directors on July 2, 2021. During the July 2, 2021 Board meeting, HILES
14
   verbally assaulted BRYANT and was reprimanded by Board chair, Dr. Stephanie Adams for her
15 inappropriate conduct. On account of BRYANT’s attempt to thwart HILES from engaging in self-

16 dealing, as well as HILES threatening remarks to BRYANT, significant tensions arose between

17 HILES and BRYANT. BRYANT alleges on information and belief that the Special Committee did

18 not decide to investigate HILES’s conduct at the July 2, 2021 Board meeting, as HILES, who

19 spearheaded the Special Committee, was not inclined to investigate herself.

20          Up until December 8, 2021 when HILES directly contacted BRYANT’s Chief of Staff and

21 demanded that certain employee personnel information be immediately provided to HILES,

22 BRYANT had no communication with the Special Committee, nor with any attorney from DLA

23 Piper or any “investigator” retained through the Special Committee. After receiving HILES demand

24 request, BRYANT informed HILES that she needed to speak with BGC counsel to discuss the
   legality of sharing personnel information and whether it was permissible to disclose the requested
25
   information. In addition, BRYANT attempted to engage outside counsel to further determine the
26
   legalities of providing confidential personnel files to the Special Committee. Such attempt was
27
   unsuccessful as outside counsel was unavailable.
28
            Upon confirmation of Board member availability, a Board meeting was scheduled for
                                                     8

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 1 December 20, 2021 to approve BGC’s 2022 budget. Leading up to the December 20, 2021 meeting,

 2 HILES repeatedly made attempts to cancel the meeting, including up until the very morning of the

 3 meeting, December 20, 2021.

 4 BRYANT is Suspended as CEO Without a Vote of the Board

 5          On or about December 20, 2021, a special and properly noticed meeting of the Board was
     held. BRYANT, HILES and other members of the Board were in attendance. Following the
 6
     meeting, HILES requested to meet privately with BRYANT. BRYANT informed HILES that she
 7
     could not meet at that the requested time due to a number of pre-existing obligations but asked
 8
     BRYANT to reschedule a meeting through her assistant. In following up with BRYANT’s assistant
 9
     to reschedule the meeting, HILES insisted that BRYANT meet alone with all three members of the
10
     Special Committee (HILES, BROWN-PHILPOT, and WHITES). BRYANT responded that she was
11
     uncomfortable meeting with the Special Committee without the presence of counsel. BRYANT
12
     informed HILES that although she had a previously scheduled meeting with counsel on Tuesday,
13
     December 21, 2021, she was uncertain whether it would be possible for her counsel to call in for a
14
     meeting with the Special Committee. BRYANT suggested that the meeting be rescheduled in
15 January 2022 after the holiday season.

16          On or about the morning of December 21, 2021, BRYANT’s corporate email and access to
17 BGC’s internal portals was disabled. When BRYANT reached out to her chief of staff, LaShonda

18 Polite to inquire about her inability to access her corporate accounts, she was told that HILES had

19 directly contacted Ms. Polite to inform her to discontinue communication with BRYANT directly

20 and that BRYANT was suspended indefinitely. Later in the afternoon, around 4:00 p.m., BRYANT

21 received an email from HILES via BRYANT’s personal email account, notifying her that she had

22 been placed on indefinite suspension as CEO. The December 21, 2021 letter states that “[t]he Board

23 of Directors have been made aware of serious allegations that involve you and we are attempting to

24 conduct a thorough and robust investigation into those allegations. You have conducted yourself in
   a manner so as to disrupt and impede the ongoing investigation.” The December 21, 2021 letter
25
   further notified BRYANT that Sofia Mohammed was named the interim Executive Director of
26
   BGC, and that “Counsel will reach out to you regarding the ongoing investigation, which you are
27
   required to cooperate with as an employee of BGC.”
28
           In addition to being stripped of both her email and the ability to access corporate documents,
                                                      9

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 1 BRYANT was also locked out of the BGC premises. BRYANT attempted to contact Sofia

 2 Mohammed but received no response. BRYANT attempted to contact her Chief of Staff, but

 3 BRYANT was informed that HILES had ordered a gag-order on all BGC personnel from

 4 communicating with BRYANT. HILES gag-order was initiated before BRYANT was notified of

 5 her suspension and that if said gag-order was violated, BGC personnel’s employment would be
   terminated.
 6
           BRYANT alleges that upon information and belief, the termination of her access to BGC
 7
   email, internal documents, and BGC’s premises was intentionally initiated by HILES as a calculated
 8
   scheme to preclude BRYANT’s ability to affirmatively prove that HILES had engaged and was
 9
   engaging in self-dealing and conflict of interest. BROWN-PHILPOT was complicit in HILES ploy
10
   as she was made privy to HILES intention. BRYANT further alleges upon information and belief
11
   that she was kept from accessing email and corporate documents in order to prevent her from
12
   communicating with BGC’s counsel about her upcoming meeting with the Special Committee and
13
   the Committee’s predetermined intention to suspend her.
14
           Following the publication of BRYANT’s suspension from BGC in the media, BRYANT
15 was contacted by the law firm, Loeb & Loeb who was unaware that the BGC Board had taken any

16 action to remove BRYANT and/or that the Board had authorized any investigation into BRYANT’s

17 alleged misconduct.

18         BRYANT later learned, and alleges upon information and belief, that the full BGC Board
19 was unaware of any alleged misconduct by BRYANT prior to her suspension, and that the Special

20 Committee, who was solely tasked with investigating various employment and HR issues, did not

21 communicate any of its findings with the Board prior to her suspension. Nor did the BGC meet,

22 discuss, or otherwise vote to remove BRYANT from her role as CEO. In fact, BRYANT’s

23 suspension was a complete surprise to many of the Board members, who only learned of

24 BRYANT’s suspension after such news was made public.
          BRYANT alleges on information and belief that the alleged “investigation” by BGC and the
25
   Special Committee was an unsubstantiated, untruthful and disingenuous pretext spearheaded by
26
   HILES to have BRYANT removed as CEO in order for HILES to obtain unfettered control over
27
   BGC operations. As such, HILES sought to orchestrate the means by which to implement her
28
   personal agenda of self-dealing and perpetuation of undisclosed conflict of interest.
                                                   10

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 1          BRYANT further alleges on information and belief that Cross-Defendants ’ HILES,
 2 BROWN-PHILPOT, and WHITES had, under the guise of a “Special Committee,’ acted

 3 independently of the Board of Directors in order to (1) suspend BRYANT and prohibit her from

 4 accessing company records and information (despite otherwise being entitled to as a matter of law),

 5 (2) keep BRYANT from communicating with BGC’s counsel, and (3) to conduct an unauthorized
   investigation concerning BRYANT’s alleged misconduct in an attempt to justify the removal of
 6
   BRYANT as BGC’s CEO.
 7
           On or about January 10, 2021, in compliance with Corporations Code Section 5710 et seq.,
 8
   BRYANT sent correspondence to BGC and the BGC Board that apprised them of the allegations
 9
   contained in this Complaint, as well as a draft copy of the instant Complaint to ensure that BGC was
10
   on notice of all material allegations alleged herein. BRYANT’s correspondence to the Board was
11
   drafted in response to correspondence that she had received from BGC, dated January 7, 2021,
12
   which insufficiently responded to BRYANT’s December 28, 2021 correspondence and requests of
13
   the Board.
14
   BGC Publicly Defames BRYANT
15         Following BRYANT’s suspension, BGC has consistently repeated false, disparaging, and
16 defamatory statements concerning BRYANT’s alleged misconduct in the public forum. Once the

17 news about BRYANT’s suspension was made public, national news sources sought comment from

18 BGC.

19          BGC has repeatedly set forth a false narrative that BRYANT is being investigated for
20 “serious allegation(s)” of misconduct. For example, when asked for comment from the news outlet

21 Business Insider, the BGC Board emailed a statement which stated in part, that BRYANT is still a

22 BGC staff member but that “serious allegations of workplace impropriety are being investigated.”

23 In a separate statement to Business Insider, BROWN-PHILPOT stated that the Board was

24 investigating “serious allegations of workplace impropriety.”
           In addition, on or about December 24, 2021, the Special Committee (and not the entire BGC
25
   Board) released a public statement to BGC’s partners and donors purporting to explain the
26
   circumstances surrounding BRYANT’s suspension (“Special Committee Statement”). The Special
27
   Committee Statement read: “Earlier this year, the Board received or became aware of concerns
28
   raised by current and former employees about BRYANT’s conduct. On or about October 5, the
                                                    11

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 1 Board formed the Special Committee to review and evaluate the complaints and determine what, if

 2 any, action should be taken with respect to these concerns.” The Special Committee Statement was

 3 issued and signed by HILES.

 4          After obtaining legal counsel, BRYANT issued a demand letter to BGC’s counsel dated

 5 December 28, 2021 (“Demand Letter”), regarding the events leading up to BRYANT’s suspension.
   The Demand Letter demanded, among other requests, that BGC produce all documents to which
 6
   BRYANT is entitled pursuant to Corporations Code Section 6334. The Demand Letter further
 7
   requested that BRYANT be immediately reinstated as CEO and that BGC refrain from further
 8
   defamatory and disparaging public comment regarding the purported investigation into BRYANT’s
 9
   alleged and unsubstantiated misconduct. To date, BGC has failed to provide the records to which
10
   BRYANT is entitled as a matter of law and has otherwise failed to reinstate her access to emails and
11
   organizational documents.
12
           As a result of both BRYANT’s suspension and public comments made by various
13
   representatives of BGC, BRYANT’s opportunities and offers to speak at public engagements have
14
   precipitously declined despite having consistently received such offers prior to CROSS-
15 DEFENDANTS’ unfounded assertions and insinuations. BRYANT is a prominent public speaker

16 who has annually addressed private and public engagements with approximately twenty

17 appearances per year.

18          At the time of BRYANT’s suspension, BRYANT was a finalist for selection as a director
19 for a for-profit corporation. As a result of BGC’s unlawful suspension, BRYANT has been

20 informed that she is no longer a candidate for that director position.

21          At the time that BGC announced to the general public that its Board was investigating

22 “serious allegations of [BRYANT’s]workplace impropriety,” the Board had not yet actually

23 commenced any formal or informal investigation BRYANT and/or her leadership of BGC.

24 HILES Continues to Act Without Board Approval
          Less than two weeks following BRYANT’s wrongful suspension from BGC, HILES
25
   continued to act on BGC’s behalf without obtaining the required approval from the BGC Board. On
26
   information and belief, HILES, purportedly under the authority of the Special Committee, began a
27
   campaign of unilaterally providing various BGC employees promotions and salary increases in a
28
   transparent attempt to garner favor with BGC employees and to differentiate her management
                                                      12

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 1 demeanor from BRYANT’s. On information and belief, beginning in January 2022, HILES, has

 2 exercised carte blanche authority over the approval of new executive hires and has unilaterally

 3 assumed operational control over organizational matters without consideration and oversight by the

 4 BGC Board. Such conduct is in blatant contravention of BGC’s institutional policies and its bylaws.

 5 58. BRYANT alleges upon information and belief that HILES unilaterally ordered BGC’s Vice
   president of Human Resources, Karla Tai, to increase the salary of BGC’s interim Executive
 6
   Director, Sofia Mohammed to the same amount as BRYANT had been receiving as CEO. As such
 7
   request occurred prior to the BGC Board receiving results of the investigation into allegations
 8
   against BRYANT, such salary increase unequivocally demonstrates that HILES and BGC intended
 9
   to remove BRYANT as CEO regardless of the findings of the purported investigation.
10
   BGC Wrongfully Removes BRYANT from BCG’s Board and Wrongfully Terminates her
11
   Employment
12
           After the Board suspended BRYANT from her position as BGC’s CEO, and after the Board
13
   prematurely and falsely announced to the general public that it was investigating “serious
14
   allegations of workplace impropriety,” the Board finally retained an outside lawyer, Aisha Adams
15 (“Adams”), to investigate allegations concerning BRYANT and her leadership of BGC.

16         Adams interviewed approximately 25 current and former BGC employees regarding BGC
17 workplace and culture between March 2022 and July 2022. BRYANT agreed to voluntarily meet

18 with Adams and as such, sat through four separate one hour interview sessions with her in July

19 2022.

20         On August 12, 2022, the Board held a special Zoom meeting to allegedly review the results

21 of the internal investigation and to review BGC financial performance. The Board summarily

22 refused to share organizational financial documents with BRYANT. Instead of addressing the

23 previously decided agenda items, the Board was confronted with a request by Board member

24 PHILPOT to immediately convene a vote on BRYANT’s removal as a BGC board member.
   PHILPOT addressed the Board with a prepared resolution moving to formally remove BRYANT as
25
   a Board member before addressing any of the items on the meeting’s agenda. When BRYANT
26
   objected to BROWN-PHILPOT’s motion and asked for clarification on why she was being removed
27
   from the Board, BROWN PHILPOT declared that it was for the “good of the organization.”
28
          BRYANT insisted that the results of the investigation be shared with the Board before
                                                    13

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 1 moving forward with BROWN PHILPOT’s motion and subsequent vote in order to ensure that all

 2 Board members were apprised of the results of the investigation. Such was imperative as the

 3 “Special Committee” affirmatively asserted that no one had been made privy to the results of the

 4 investigation up to that point. In contravening Board protocol by withholding information that was

 5 imperative for rendering a reasonably informed vote, the “Special Committee” arrived at the
   meeting with a detailed, pre-drafted resolution in hand to remove BRYANT.
 6
          As a sitting BGC Board member, BRYANT had a contractual right under BGC’s Bylaws to
 7
   cast a vote on her removal and/or termination as had all BGC Board members. Indeed, BGC
 8
   confirmed this right by providing BRYANT with notice of the Board’s special meeting and log-in
 9
   credentials for the special meeting’s Zoom session.
10
          BRYANT was present over Zoom for the beginning of the August 12, 2022 special meeting.
11
   However, HILES and BGC’s counsel required that BRYANT be temporarily excluded from the
12
   meeting while Adams presented the BOARD with her investigative findings. BRYANT protested
13
   her removal but was removed from the Zoom session by HILES.
14
          In BRYANT’S absence, Adams presented the BOARD with her investigative findings.
15 Adams informed the BOARD as to the specific allegations levied against BRYANT, including the

16 unsubstantiated allegations pertaining to BRYANT’s mismanagement and mistreatment of

17 employees.

18         During Adams’ presentation, members of BGC’s Board communicated with each other
19 through Zoom’s chat feature. Several Board members stated that they were unaware of any direct

20 allegations made against BRYANT and/or that Adams had been hired to conduct a formal

21 investigation that examined more than 26 current and former BGC staff members and consultants.

22         BRYANT learned of these chat communications as they occurred from members of the

23 BGC Board who were in attendance and were participating in the special meeting. BRYANT

24 informed her legal counsel, who immediately sent BGC’S counsel (who was also participating in
   the special meeting over Zoom) an e-mail demanding that all Zoom chat communications (including
25
   those relating to the investigation) be preserved.
26
           At the end of Adams’ presentation, the Board voted on BRYANT’S removal from the Board
27
   and her termination as CEO. The Board was well aware that BRYANT was excluded from the
28
   Zoom call but made no attempt to make contact with her or her counsel to allow her to rejoin the
                                                   14

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 1 call-in order to cast her vote. The Board was also aware that BRYANT was waiting to rejoin the

 2 main session by, among other things, the fact the Board’s counsel received a contemporaneous e-

 3 mail from BRYANT’S counsel discussing events taking place during the meeting. Nevertheless,

 4 BGC refused to permit BRYANT to rejoin the Zoom session where the vote on her removal and

 5 termination were taking place. BGC’s Board voted 3-2 to remove BRYANT’s Board appointment
   and to terminate her employment. As was her right under BGC’s bylaws, had BRYANT been able
 6
   to participate in the vote, she would not have been removed as a Board member or terminated as
 7
   BGC’s CEO.
 8
   BGC Continues to Retaliate Against Bryant After her Removal and Termination.
 9
           Despite DEFENDANT’s most egregious, illegitimate and reprehensible conduct as
10
   articulated above, BGC and CROSS-DEFENDANTS continue their wrongful campaign of
11
   harassment and retaliation against BRYANT even though she is no longer a Board member or
12
   employee.
13
           On account of CROSS-DEFENDANTS’ wrongful termination, BRYANT lost her family’s
14
   health insurance. Under relevant federal and California law, BGC was required to give BRYANT
15 statutory notice of her right to COBRA and Cal-COBRA continuation coverage within 14 days of

16 her August 12, 2022 termination. Despite repeated inquires by BRYANT, BGC initially refused to

17 provide BRYANT statutory notice of her right to continued coverage. BRYANT only received such

18 notice on September 20, 2022, some thirty-nine days after her purported termination.

19         In addition, BRYANT was denied the proper distribution of her remaining vacation days. In
20 a memo from BGC VP of Human Resources, Karla Tai, BRYANT was informed that her final pay

21 would include a randomly generated three weeks of vacation. When BRYANT contested the

22 accuracy of vacation pay calculation, Ms. Tai responded with an updated and increased distribution

23 which was still incorrect as to the amount due BRYANT.

24         On August 22, 2022, BGC filed a baseless federal lawsuit in the Northern District of
     California entitled BGC v. Kimberly Bryant and Doe 1, Case No. 3:22-CV-04801-JSC. In that
25
     lawsuit, BGC accused BRYANT of hacking into a server containing BGC’s website code, content,
26
     and other components and damaging and/or deleting these items resulting in the disablement of
27
     BGC’s website. Such allegations are unfounded as BRYANT did not have access to BGC’s website
28
     files and did not delete or destroy any of the website’s components. The BGC website was, and
                                                    15

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 1 remains, perfectly functionable. Indeed, BGC was forced to amend its complaint when faced with

 2 indisputable proof that its website was not disabled by any wrongful conduct by BRYANT.

 3          BGC’S continued harassment and retaliation has and will continue to significantly damage

 4 BRYANT. Among other things, BRYANT has lost multiple lucrative speaking engagements as a

 5 result of BGC’s wrongful accusations and termination. Moreover, BRYANT has been forced to
   incur substantial attorneys’ fees and expenses defending against BGC’s frivolous federal lawsuit.
 6
           Contrary to Plaintiff’s assertion in the complaint, BRYANT established Black Girls Code as
 7
   a sole proprietor in 2010. In fact the initial website for Black Girls Code was a website that was
 8
   designed, coded, and managed by BRYANT on a service called Weebly which she currently still
 9
   owns and maintains. When BRYANT created the website for Black Girls Code in 2011 she
10
   purchased with her own funds the stated domains; Specifically, she caused BGC’s domains
11
   <blackgirlscode.com>,<blackgirlscode.org>, <blackgirlscode.site> and <blackgirlscode.net>. These
12
   domains were purchased with BRYANT’S personal funds and hosted on a hosting service from
13
   Register.com which BRYANT was also the sole account owner. During no time did BRYANT
14
   transfer ownership of the original Black Girls Code website, the named domains, or her ownership
15 of the Register.com account to BGC Inc.

16          When BRYANT created her company brand name (BLACK GIRLS CODE) in 2011 as a
17 sole proprietor with her own funds she also solicited the creation of several logos (the legacy marks)

18 via design service 99Designs. These logos and brand marks purchased by BRYANT in 2011 were

19 originally used on the website BRYANT used for her company. BRYANT maintains the ownership

20 of copyrights for these logos which were secured via 99Designs. The website, the original logos,

21 and all copyrights were used by BRYANT and her company BLACK GIRLS CODE from 2011 and

22 beyond. The original Weebly website was used by BRYANT to advertise her pilot program in 2011

23 and included photos of the program taken by BRYANT as well as personal blog posts which

24 BRYANT wrote. The website, domains, copyrights were assigned to BRYANT acting as FBN
   BLACK GIRLS CODE registered in San Francisco County at two subsequent addresses owned by
25
   BRYANT. Her home address (1725 Washington Street, San Francisco, CA 94109) and her personal
26
   post office box (P.O. 640926, San Francisco, CA 94164).
27
           In 2012 BRYANT obtained a trademark for the company name she created BLACK GIRLS
28
   CODE. The trademark was assigned to BRYANT’S sole proprietorship BLACK GIRLS CODE.
                                                     16

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 1 BGC Inc improperly altered the registered ownership of the trademark in 2022 and changed the

 2 registered owner to BGC INC.

 3         From 2011 to 2018 BRYANT was the sole administrator of the legacy website created in

 4 2011 by BRYANT. No other employees had access to the Weebly website or made changes to any

 5 content besides BRYANT.
           . The individual named in the BGC complaint (John Hanawalt) was not a retained contractor
 6
   of BGC Inc. Instead, Mr. Hanawalt volunteered his services to Black Girls Code to provide design
 7
   guidance for a possible future website design for the company. At no time was Mr. Hanawalt
 8
   retained by the company to redesign the legacy website. BGC Inc did in fact hire and retain a web
 9
   design firm in 2019 to redesign the legacy website. The design firm led by a team managed by BGC
10
   employee Ewurabena Ashun developed a new Wordpress website which is currently used by BGC
11
   Inc. BRYANT was not directly involved in the administration of the new website and as stated in
12
   declaration from Ewurabena Ashun did not have access to make changes or alter the BGC Inc
13
   website built in Wordpress and hosted on Bluehost.
14
           The original (legacy) website which BRYANT designed and developed for BLACK GIRLS
15 CODE was created on a platform called Weebly in 2011. The legacy website was hosted on

16 Register.com not on Bluehost.com which are different entities. BRYANT also purchased and

17 maintained the domains in question from Register.com. The current and existing BGC INC website

18 it was built as a Wordpress website in 2019 with separate administrative controls than the original

19 Weebly site. It is hosted on Bluehost, but the content and administrative controls and changes are

20 administered via Wordpress not Bluehost.

21         As noted in her declaration Ewurabena Ashun transferred administrative controls of the

22 BGC Wordpress website and Bluehost to Karla Tai, BRYANT does not and has never had access to

23 make changes to the BGC INC Wordpress website. BGC INC maintained administrative control of

24 the BGC website from December 2021 to the date of this claim and actively updated it via
   Wordpress and made changes unhindered to the content via their Wordpress account which
25
   BRYANT did not and had not ever had access.
26
                                   A. ADMISSIONS & DENIALS
27
       1. Defendant admits the allegations in paragraphs 20 stating: “The BGC Website allows girls
28
     ages 7 through 17 to enroll in programs and services, advertises upcoming events, provides
                                                    17

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 1   news relevant to its intended beneficiary class, contains information regarding its various
 2   chapters and how to get involved, and allows visitors to make donations and volunteer, both of

 3   which BGC relies on to operate.” Defendant denies the remainder of the allegations in

 4   paragraph 20.

 5     2. Defendant denies the allegations in paragraphs 21-57.
                                     B. AFFIRMATIVE DEFENSES
 6
      1. Defendant/Cross-Complainant is not liable to Plaintiff/Cross-Defendants because
 7
           Defendant/Cross-Complainant engaged in fraud, illegality and wrongful termination of
 8
           Plaintiff/Cross-Defendant’s employment and violations of laws.
 9
      2.   Plaintiff/Cross-Defendants engaged in illegal conduct with Unclean hands, oppression,
10
           malice and fraud in a conspiracy to steal and convert Defendant/Cross-Complainant’s non-
11
           profit corporation to their own use, with a motivation of greed and financial gain.
12
      3.   Plaintiff/Cross-Defendants and their agents are responsible for their own alleged harm and
13
           damages.
14
      4.   Plaintiff/Cross-Defendants complaint fails to state a claim or cause of action for which
15         relief can be obtained.
16    5. Plaintiff/Cross-Defendants are negligent and the proximate cause of any alleged damages or
17         harm.
18    6.   Plaintiff/Cross-Defendants have suffered no damages.
19    7.   Plaintiff/Cross-Defendants alleged damages are caused by a Supervening Cause, unrelated
20         to Defendant/Cross-Complainant’s action or conduct.

21    8. Plaintiff/Cross-Defendants alleged damages are caused by Plaintiff/Cross-Defendants

22         Wrongful Termination of Defendant/Cross-Complainant’s Employment.

23    9. Plaintiff/Cross-Defendants complaint fails to state a claim because of the defense of Truth

24    10. Plaintiff/Cross-Defendants alleged damages are caused by Sole Negligence of Co-Cross-
           Defendant
25
      11. Plaintiff/Cross-Defendants always engaged in conduct of Prevention and Frustration when
26
           Defendant/Cross-Complainant Was Ready, Willing and Able to Perform the Contract, and
27
           Plaintiff/Cross-Defendants Prevented and Frustrated Such Performance.
28
      12. Plaintiff/Cross-Defendants complaint is barred because of Lack of Consideration.
                                                     18

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 1   13. Plaintiff/Cross-Defendants complaint is barred because of Failure of consideration.
 2   14. Plaintiff/Cross-Defendants complaint is barred because of Intervening Cause of conduct of

 3      Cross-Defendants

 4   15. Plaintiff/Cross-Defendants complaint is barred because of Lack of Causation.

 5   16. Plaintiff/Cross-Defendants complaint barred is because Defendant/Cross-Complainant
        exercise of Free Speech
 6
     17. Plaintiff/Cross-Defendants complaint is barred because Frustration of Purpose.
 7
     18. Plaintiff/Cross-Defendants complaint is barred because Defendant/Cross-Complainant at all
 8
        times exercise of Good Faith By Answering Defendant
 9
     19. Plaintiff/Cross-Defendants complaint is barred because Illegality by Plaintiff/Cross-
10
        Defendants.
11
     20. Plaintiff/Cross-Defendants complaint is barred because Plaintiff/Cross-Defendants’ Failure
12
        to Take Advantage of Effective System.
13
     21. Plaintiff/Cross-Defendants complaint is barred because Plaintiff/Cross-Defendants’ Failure
14
        to Join an Indispensable Party
15   22. Plaintiff/Cross-Defendants complaint is barred because Plaintiff/Cross-Defendants’ Failure
16      to Mitigate Damages
17   23. Plaintiff/Cross-Defendants complaint is barred because of Estoppel.
18   24. Plaintiff/Cross-Defendants complaint is barred because of Equitable Estoppel
19   25. Plaintiff/Cross-Defendants complaint is barred because of it is Contrary to Public Policy
20   26. Plaintiff/Cross-Defendants complaint is barred because alleged Damages Were the Result of

21      Unrelated, Pre-Existing, or Subsequent Conditions Unrelated to Defendant/Cross-

22      Complainant's Conduct.

23   27. Plaintiff/Cross-Defendants complaint is barred because Comparative Fault of Third Parties

24   28. Plaintiff/Cross-Defendants complaint is barred because Defendant/Cross-Complainant's
        Complete Performance.
25
     29. Plaintiff/Cross-Defendants failed to discharge all Conditions Precedent.
26
     30. Plaintiff/Cross-Defendants complaint is barred because Plaintiff/Cross-Defendants’ Own
27
        Conduct, or By the Conduct of Its Agents, Representatives, and Consultants
28

                                                   19

                DEFENDANT/CROSS-COMPLAINANT KIMBERLY BRYANT’S ANSWER
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 1    31. Plaintiff/Cross-Defendants complaint is barred because Plaintiff/Cross-Defendants failure to
 2        exercise sound Business Judgement under the Business Judgement Rule.

 3    32. Plaintiff/Cross-Defendants complaint is barred because Plaintiff/Cross-Defendants’ Breach

 4        of Contract.

 5    33. Plaintiff/Cross-Defendants complaint is barred because Plaintiff/Cross-Defendants’
          unconscionable conduct inflicted on Defendant/Cross-Complainant, including the bad faith
 6
          breath of contract, wrongful and illegal removal of Defendant/Cross-Complainant from the
 7
          board and wrongful termination of Defendant/Cross-Complainant’s employment as CEO of
 8
          BGC, the nonprofit Defendant/Cross-Complainant founded and grew into a viable business
 9
          for the public purpose of uplifting Black and marginalized girls.
10
      34. Defendant/Cross-Complainant hereby asserts a Reservation of Right to Add Additional
11
          Affirmative Defenses.
12
                                         C. COUNTERCLAIMS
13
       3. Plaintiff/Cross-Defendant is liable to defendant because plaintiff engaged in the unlawful
14
     conduct set forth in the attached Counterclaims and Cross-Complaint filed concurrently
15   herewith and incorporated as though fully set forth herein.
16                                         D. CROSS-CLAIMS
17     4. Cross-Defendants, and each of them, HEATHER HILES, an individual; STACY
18   BROWN-PHILPOT, an individual, SHERMAN WHITES, an individual; and SOFIA
19   MOHAMMED are liable to defendant because each engaged in the unlawful conduct set forth
20   in the attached Counterclaims and Cross-Complaint filed concurrently herewith and

21   incorporated as though fully set forth herein.

22                                               PRAYER

23     5. For these reasons, Defendant/ Cross-Complainant and asks the Court to do the following:

24          a.    Render judgment that Plaintiff/Cross-Defendant take nothing.
            b.    Dismiss Plaintiff/Cross-Defendant’s suit with prejudice.
25
            c.    Assess costs against Plaintiff/Cross-Defendant.
26
            d.    Award defendant attorney fees against Plaintiff/Cross-Defendant
27
            e.    Render judgment for Defendant/Cross-Complainant against Plaintiff/Cross-
28
                  Defendants, and each Cross-Defendant, as outlined and prayed for in the
                                                      20

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 1               Defendant/Cross-Complainant’s Cross-Complaint/Counter Claim, including
 2               economic and non-economic damages and attorneys’ fees.

 3         f. Award Defendant/Cross-Complainant all other relief this Court deem fair, reasonable

 4               and just.

 5 Dated: March 14, 2023                      LAW OFFICES OF BONNER & BONNER

 6
                                              /s/ Charles A. Bonner
 7
                                              CHARLES A. BONNER
 8                                            Attorney for Defendant/Cross-Complainant
 9                                            Kimberly Bryant

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